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IN THE uNiTED sTATEs DIsTRiCT CoURT 054 ‘<”1 §/
FoR THE WESTERN DISTRICT oF TENNESSEE 019/6 \

 

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_ /"

LeROYCE WALLACE and husband, )
MARK WALLACE, )
)
Plaintiffs, )
)

VS. ) No. 05-1209-T/An
)
MERCK & CO., INC., ET AL., )
)
Defendants. )

 

ORDER GRANTING MOTION TO STAY

 

Plaintiffs LeRoyce Wallace and Mark Wallace filed this action in the Circuit Court
of Madison County, Tennessee, on June 22, 2005, against Merck and Conipany, Inc., maker
of the prescription drug known as Vioxx. Plaintiffs also named as defendants certain local
Merck sales representatives and pharmacists. Merck removed the action to this Court on
July 25, 2005, on the basis of diversity of citizenship, contending that the non-diverse
defendants Were fraudulently joined in an attempt to defeat diversity jurisdiction

Also on July 25, 2005, Mercl< filed a motion to Stay all further proceedings pending
a decision by the Judicial Panel on Multidistrict Litigation (“MDL Panel”) on Whether this
case should be transferred to the United States District Court for the Eastern District of

Louisiana as a “tag-along” action in MDL Proceeding No. 1657, In re Vioxx Product

This document entered on the docket sheet In compliance
with mile 58 and/or 79 (a) FRCP an 'F’/ 7'0‘3'_Hv

 

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Liability Litigation. Plaintiffs filed a motion to remand the action to state court on August
4, 2005.

The MDL Panel issued the first Transfer Order establishing MDL- l 657 on February
l6, 2005. fn that order, the Panel stated:

The pendency ofa motion to remand to state court is not a sufficient

basis to avoid inclusion in Section 1407 proceedings We note that motions

to remand in two actions, one action each in the District of Kansas and the

Eastern District of Missouri, as well as in any other MDL-1657 actions can be

presented to and decided by the transferee judge. See, e.g., fn re Ivy, 901 F.2d

7 (Zd Cir. 1990); fn re Prudential InSurance Company of America Sales

Practz'ces Lz'rigation, 170 F. Supp. 2d 1346, 1347-48 (J.P.M.L. 2001).
Transfer Order, at 2 (J.P.M.L. Feb. 16, 2005).

The pendency of transfer to the l\/IDL proceeding does not limit the authority of this
Court to rule on the plaintiffs’ motion to remand S_eg JPl\/[L R. 1.5. The decision Whether
to grant a stay is within the inherent power of the Court and is discretionary §§_e_ Landis v.
North Am. Co., 299 U.S. 248, 254-55 (1936). Although some courts have opted to rule on

pending motions to remand prior to the MDL Panel’s decision on transfer, see, e.g., Kantner

v. Merck & Co. Inc., No. l:O4CV2044-JDT-TAB, 2005 WL 277688 (S.D. lnd. Jan. 26,

 

2005), there are many more that have chosen to grant a stay, even if a motion to remand has
been filed. E.g., Anderson v. Merck & Co.` lnc., No. 4:05-cv-89 (E.D. Mo. Mar. 16, 2005);
l\/lcCrerev v. Mercl< & Co.. Inc., No. 04-cv-2576 (S.D. Cal. Mar. 2, 2005); Dixon v. Merck

& Co. Inc., No. 05-0121 (S.D.. TeX. Feb. 23, 2005).

 

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There are several other Vioxx cases already pending in this district, and possibly
thousands more in other districts. In many of those cases, the joinder of non-diverse
defendants is contested and motions to remand have been or will be filed Thus, the
jurisdictional issues raised in this case are similar to those raised in other cases that have
been or will be transferred to the MDL proceeding

The Court finds that having the jurisdictional issues decided in one proceeding will
promote judicial economy and conserve judicial resources In addition, the Court finds that
any prejudice to the plaintiffs resulting from a stay would be minimal. However, in the _
absence of a stay, the risk to Merck of duplicative motions and discovery is significant

For the foregoing reasons, Merck’s motion to stay pending the MDL Panel’s transfer
decision is GRANTED. The motion to remand is deferred to the transferee court.

l'l` IS SO ORDERED.

JAC)"MJ %M

S D. TODD
UN ED STATES DISTRICT JUDGE

/S_Q/M,M %-as’

DATE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
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Honorable .l ames Todd
US DISTRICT COURT

